IN THE UNITED STATES DISTRICT
COURT FOR THE NORTHERN DISTRICT
OF TEXAS FORT WORTH DIVISION

ROBERT (BOB) ROSS,
Civil Action No. 4:22-cv-343-Y
Plaintiff/Counterclaim
Defendant, Judge Terry R. Means
v.

ASSOCIATION OF PROFESSIONAL
FLIGHT ATTENDANTS, et al.,

LNLN LM LN LM LN LN LN LN LM) MM

Defendants/Counterclaim
Plaintiff.

APPENDIX IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO FILE
SECOND AMENDED COMPLAINT AND FOR JOINDER
AND BRIEF IN SUPPORT

Plaintiff Robert “Bob” Ross, pursuant to Local Rules 7.1(i) and § C of this Court’s Case
Management Requirements, submits this appendix of supporting documents and of non-
published cases cited in, and in support of “PLAINTIFF’S MOTION FOR LEAVE TO FILE

SECOND AMENDED COMPLAINT AND FOR JOINDER AND BRIEF IN SUPPORT:”

Item Description Pgs.

1 Supporting Documents Referenced in Brief 1-14

Respectfully submitted,
K.D. PHILLIPS LAW FIRM, PLLC

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ATTORNEY FOR PLAINTIFF

CERTIFICATE OF SERVICE

I certify that the true and correct copy of this document was sent to all counsel of record,
hereunder listed via ECF Filing on this the 27th day of September 2023.

/s/_ Kerri Phillips
Kerri Phillips, Esq.

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From: Erik Harris <eharris@apfa.org>

Date: Thursday, October 22, 2020 at 12:14 PM

To: Officers <Officers@apfa.org>

Cc: Margot Nikitas <MNikitas@apfa.org>, Bill Osborne <BOsborne@osbornelaw.com>
Subject: FW: Memo for the Board and EC OO

Erik Harris
National Treasurer

Association of Professional Flight Attendants

Office 897 S404 08* 8231] Email ohariatanta org

The content of Mis onal ls intended solely for the recipients),

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ApaA

From: Hal O'Neil <oneil@woodcpafirm.com>
Date: Thursday, October 22, 2020 at 12:11 PM
To: Erik Harris <eharris@a pfa.org>

Cc: Pam Bush <pbush@woodcpatirm.com>
Subject: Memo for the Board and EC

Erik.....attached is the Board and EC Memo for your review. Also are the attached schedules for each officer. Please get back to

me if this memo looks OK.

Thanks, Hal

Hal O'Neil, CPA

Wood, Stephens & O'Neil, L.L.P.
6300 Ridglea Place, Suite #318
Fort Worth, TX 76116

Direct line - 817-886-3428
Firm tele. - 817-377-1700 (my extension #601)
Firm fax - 817-377-1870

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Attachments:

APFA - Board and EC memo.pdf
APFA - Vargas schedules A - C.pdf
APFA - Dunaway schedules A - C.pdf
APFA - Martin schedules A - C.pdf
APFA - Ross schedules A - C.pdf

79.7 KB
112 KB
112 KB
113 KB
137 KB

Appendix 1

APFA 69
Wood, Stephens & 6300 Ridglea Place, Sulte 318

‘ Fort Worth, TX 76116
O’Neil, L.L.P. Tele. 817-377-1700

Certified Public Accountants Geena ea)

CONFIDENTIAL MEMORANDUM

MEMO TO: APFA Board of Directors and the Executive Committee

FROM: Hal O'Neil, CPA, Pam Bush

SUBJECT: Review of officer disbursements and the Bob Ross transition agreement
DATE: October 22, 2020

The current APFA officers, in consultation with the APFA staff attorney and outside counsel,
requested that our firm review specific former officer expense reimbursements and payroll
disbursements, as well as the payments arising from the Bob Ross confidential transition
agreement. This informal engagement is substantially less in scope than an audit engagement,
the objective of which would be the expression of an opinion regarding these specific
disbursements. Accordingly, we do not express an opinion or any form of assurance regarding
these disbursements. Our task under this informal engagement, was as follows:

1. To review the backup for the former officers’ salary disbursement amounts from 2016 - 2018
and to determine these base salaries were calculated correctly and in compliance with the
guidelines and pay rates stipulated in the APFA policy manual. Please see the enclosed
schedule A for each officer.

2. To prepare an overpayment schedule of the accrued and unused sick, and accrued and
unused vacation time payments made to Bob Ross in 2018, similar to the overpayment
schedules we prepared previously for the other three officers. Please see the enclosed
schedules B and C for each officer. These overpayment schedules for the other officers
were previously provided to the Board of Directors. Please note the Bob Ross confidential
transition agreement states that he will be paid all of his accrued and unused sick, and
accrued and unused vacation time. This agreement doesn’t specify that the payments be
made in accordance with the policy manual guidelines. Consequently, these payments
appear appropriate and in compliance with the transition agreement. This agreement also
specifies reimbursement payments to him of up to $10,000 in actual moving expenses. His
moving expense reimbursement payments did not exceed this amount.

3. To assist the APFA accounting department staff in reviewing and organizing the various
requested documents, as set forth in the flight attendants Chinery and Lee financial
document request.

Please contact us should the Board of Directors or the Executive Committee have questions
regarding our limited engagement.

Sincerely,

Hal O’Neil, CPA

Appendix 2
APFA 70
La ]

Eugenio Vargas - National Treasurer Pay

105 hours pald monthly at the highest purser pay including international overide, per the policy manual.

* — Maximum flight attendant pay
Purser Pay
International pay

60.13
7.50

3.75

71.38 105 hours 7,494.90

|Bi-monthly pay 4/1/16 - 12/31/16

3,747.45 |

** Maximum flight attendant pay
Purser Pay
International pay

61.33
7.50
3.75

72.58 105 hours 7,620.90

[Bi-monthly pay ~ 1/1/17 - 5/1/17

3,810.45 |

“e* Maximum flight attendant pay
Purser Pay
International pay

91,450.80

250,55

Annual salary
Dally rate for sick and vacation

64,96
7.50
3.75

76.21 105 hours 8,002.05

/Bi-monthly pay - 5/2/17 - 12/31/17

4,001.03 |

“ee Maximum flight attendant pay
Purser Pay
International pay

96,024.60

263.08

Annual salary
Daily rate for sick and vacation

66.26
7.50
3.75

77.51 105 hours 8,138.55

{8i-monthly pay - 1/1/18 - 3/31/18

4,069.28 |

* Pay rates effective 4/1/16
** Pay rates effective 1/1/17 - 5/1/17

97,662.60

267.57

Annual salary
Daily rate for sick and vacatlon

“tt — Pay rates effective 5/2/17 - 12/31/17 (1.6% increase)

**#% Day rates effective 1/1/18 - 3/31/18

Appendix 3
APFA 71
| 8B
National Officer: |Eugenio Vargas
Annual Daily amount Eligible |
Salary (divide by 365) Daystopay | Payment | |
| |
Profit Sharing - 2016 2,435.07 (paid 3/10/17}
Vacation Pay - 2017
S 91,450.80 : 250.55 14 3,507.70 (paid 3/31/2017)
Sick Pay - 2017
$ 91,450.80 250.55 12 3,006.60 (paid 3/31/2017)
|
Retro 831.60 (paid 6/1/17)
s 150.00 (paid 1/25/18)
Profit Sharing 2017 2,269.76 (paid 3/9/18) i
Vacation Pay - 2018
S$ 143,021.02 309.65 14 4,335.10 (paid 3/29/2018) |
Sick Pay - 2018
$ 113,021.02 309.65 12 3,715.80 (paid 3/29/2018)
Vacation Pay - 2017 - (adjustment paid in 2018) 523.46
Sick Pay - 2017 - (adjustment paid in 2018) 448.68 |
972.14 (paid 3/29/2018)
End of Term Payout - 2018 |
S$ 111,317.70 304.98 54 16,468.92 (paid 6/29/2018) |
.
|
Profit Sharing - 2018 1,141.03 (paid 3/8/19)

Appendix 4
APFA 72
[| oc | | |
National Officer: (Eugenio Vargas Overpayment Calculation
|
|
Annual Daily amount Eligible
Salary (divide by 365) Days topay | Payment
Vacation Pay - 2018
Original amount - paid in error (a) S$ 113,021.02 309.65 14 $ 4,335.10 (paid 3/29/2018)
Correct calculation amount S 97,662.72 ° 267.57 14 $ 3,745.98 |
Overpayment § 589.12 $ 589.12 |
Sick Pay - 2018
Original amount - paid in error (a) $ 113,021.02 309.65 12 $ 3,715.80 | (paid 3/29/2018)
Correct calculation amount s 97,662.72 267.57 12 § 3,210.84
Overpayment § 504.96 $ 504.96
End of term payout - 2018
Original amount - paid in error (a) S 111,317.70 304.98 54 $ 16,468.92 (paid 6/29/2018)
Correct calculation amount S 97,662.60 267.57 54 $ 14,448.78
Overpayment §$ 2,020.14 $ 2,020.14
Vacation Pay - 2017 - (adjustment paid in 2018....all paid in error) Overpayment §$ 523.46 $ 523.46 | (paid 3/29/2018)
Sick Pay - 2017 - (adjustment paid in 2018....all paid in error) Overpayment §$ 448.68 $ 448.68 | (paid 3/29/2018)
Overpayment subtotal $ 4,086.36 **
Add 2018 profit-sharing contribution paid (3/8/2019) on excess amount above ** $ 57.21 (based on 1.4%)
Total overpayment - due to APFA }$ 4,143.57 |
(a) - included union pay (MEA/SAF)

Appendix 5

APFA 73
[a]

Marcy Dunaway - National Secretary Pay

105 hours paid monthly at the highest purser pay including international overide, per the policy manual,

* Maximum flight attendant pay
Purser Pay
International pay

60.13
7.50

= TS,

71.38 =105 hours 7,494.90

|Bi-monthly pay 4/1/16 - 12/31/16

3,747.45 |

** Maximum flight attendant pay
Purser Pay
International pay

61,33
7.50
375

72.58 105 hours 7,620.90

[Bismanthly pay - 1/1/17 - 8/1/47

3,810.45 |

91,450.80 |Ainual salary
250.55 |Daily rate for sick and vacation
*** Maximum flight attendant pay 64.96
Purser Pay 7.50
International pay 3.75
76.21 105 hours 8,002.05
|Bi-monthly pay - 5/2/17 - 12/31/17 4,001.03 |
96,024,60 JAnnual salary
263.08 [Daily rate for sick and vacation
*** Maximum filght attendant pay 66.26
Purser Pay 7.50
International pay 3.75
77,51 105 hours 8,138.55
{Bi-monthly pay - 1/1/18 - 3/31/18 4,069.28 |
97,662.60 |Annual salary
267.57 |Daily rate for sick and vacatlon

“Pay rates effective 4/1/16
“* Pay rates effective 1/1/17 - 5/1/17

*** Pay rates effective 5/2/17 - 12/31/17 (1.6% increase)

wane Pay rates effective 1/1/18 - 3/31/18

Appendix 6
APFA 74
T | B |
National Officer: _|Marcy Dunaway
Annual Daily amount Eligible
Salary (divide by 365) Days to pay Payment
Profit Sharing - 2016 |
2,424.86 (paid 3/10/17)
Vacation Pay - 2017
$ 91,450.80 250.55 14 3,507.70 | (paid 3/31/2017)
Sick Pay - 2017
$ 91,450.80 250.55 12 3,006.60 (paid 3/31/2017)
Retro 831.60 (paid 6/1/27)
Triple Grand Slam 300.00 paid 7/6/17)
Grand Slam 150.00 (paid 1/25/18)
Profit Sharing - 2018 2,270.35 {poid 3/9/18)
Vacation Pay - 2018
$ 112,659.36 308.66 14 4,321.24 (paid 3/29/2018)
Sick Pay - 2018 ao
$ 112,659.36 308.66 12 3,703.92 ‘ (paid 3/29/2018)
Vacation Pay - 2017 - (adjustment paid in 2018) 513.10
Sick Pay - 2017 - (adjustment paid in 2018) 439.80
952.90 (paid 3/29/2018)
End of Term Payout - 2018
“$s 110,926.06 303.91 60 18,234.60 {paid 6/29/2018)
Profit Sharing ~ 2018 1,199.47 (paid 3/8/19)

Appendix 7
APFA 75
[<_] |
| |
National Officer: —_|Marcy Dunaway Overpayment Calculation
Annual Daily amount Eligible |
Salary (divide by 365) Days to pay Payment | |
Vacation Pay - 2018 |
Original amount - paid in error (a) S 112,659.36 308.66 14 $ 4,321.24 (paid 3/29/2018)
| Correct calculation amount ; Ss 97,662.72 267.57. 14 § 3,745.98
Qverpayment §$ 575.26 $ 575.26
Sick Pay - 2018
Original amount -paidinerror(a) $ 112,659.36 308.66 12 $ 3,703.92 : (paid 3/29/2018)
Correct calculation amount $ 97,662.72 267.57 12 5 3,210.84
Overpayment §$ 493.08 s 493.08
End of term payout - 2018 ]
Original amount - paid in error (a) S 110,926.06 303.91 60 S$ 18,234.60 (paid 6/29/2018)
Correct calculation amount $ 97,662.60 267.57 60 $ 16,054.20
Overpayment § 2,180.40 $ 2,180.40 |
Vacation Pay - 2017 - (adjustment paid in 2018....all paid in error) Overpayment $ 513.10 $ 513.10 | (paid 3/29/2018)
Sick Pay - 2017 - (adjustment paid in 2018....all paid in error) ‘Overpayment § 439.80 $ 439.80 | (paid 3/29/2018)
Overpayment subtotal S$ 4,201.64 **
Add 2018 profit-sharing contribution paid (3/8/2019) on excess amount above ** s 58.82 (based on 1.4%)
Total overpayment - due to APFA $s 4,260.46 |
(a) - included union pay (MEA/SAF)
Appendix 8

APFA 76

La ]

Nena Martin - National Vice President Pay
National President Pay (3/2/

110.5 hours paid monthly at the highest purser pay including international overide, per the policy manual.

* Maximum flight attendant pay
Purser Pay
International pay

18)

60.13
7,50

3.75

71.38 110.5 hours 7,887.49

}Bi-monthly pay 4/1/16 - 12/31/16

3,943.75 |

** Maximum flight attendant pay
Purser Pay
International pay

61.33
7.50
3./5

72.58 110.5 hours 8,020.09

{Bi-monthly pay - 1/1/17 - 5/1/17

4,010.05 |

96,241.08
263.67

*** Maximum flight attendant pay
Purser Pay
Internatlonal pay

Annual salary
Daily rate for sick and vacation

64.96
7.50
3.75

76,21 110.5 hours 8,421.21

{Bi-monthly pay - 5/2/17 - 12/31/17

4,210.60 |

101,054.46
276,86
*#** Maximum flight attendant pay

Purser Pay
International pay

Annual salary
Daily rate for sick and vacation

66.26
7.50
3.75

77,51 110.5 hours 8,564.86

j8i-monthly pay - 1/1/18 - 3/1/18

4,282.43 |

102,778.26
281.58

Stepped In as President on 3/2/18

eo" Maximum flight attendant pay
Purser Pay
International pay

Annual salary
Dally rate for sick and vacation

66,26
7.50
3.75

77.51 116 hours 8,991.16

|Bi-monthly pay - 3/2/18 - 3/31/18

4,495.58 |

107,893.92
295.60

* Pay rates effective 4/1/16
** Pay rates effective 1/1/17 - 5/1/17

Annual salary
Daily rate for sick and vacation

*** Day rates effective 5/2/17 - 12/31/17 (1.6% increase)

*“### Day rates effective 1/1/18 - 3/31/18

Appendix 9

APFA 77
| L 8 | |
| | |
National Officer: Nena Martin
Annual Daily amount Eligible
Salary (divide by 365) Days to pay Payment
|
Profit Sharing - 2016 2,541.90 (poid 3/10/17)
Vacation Pay - 2017 |
$ 96,241.20 263.67 14 3,691.38 . (paid 3/31/2017) |
Sick Pay - 2017
s 96,241.20 263.67 12 3,164.04 (paid 3/31/2017)
Retro Pay 875.16 (paid 6/1/17)
Triple Play Grand Slam 300.00 {paid 7/6/17} |
Grand Slam 150.00 (paid 1/25/18)
Profit Sharing - 2017 2,373.70 (paid 3/9/18)
Vacation Pay - 2018
$ 131,844.90 361.22 14 5,057.08 (paid 3/29/2018)
|
Sick Pay - 2018 |
$ 131,844.90 361.22 12 4,334.64 (paid 3/29/2018)
Vacation Pay - 2017 - (adjustment paid in 2018) 520.94
Sick Pay - 2017 - (adjustment paid in 2018) 439.80
960.74 (paic 3/29/18)
End of Term Payout - 2018
S$ 118,046.02 323.41 60 19,404.60 (paid 6/29/2018)
Profit Sharing - 2018 1,279.64 (paid 3/8/19}

Appendix 10
APFA 78
Cc
L | | |
National Officer: (Nena Martin Overpayment Calculation |
Annual Daily amount Eligible |
Salary (divide by 365) Days to pay Payment |
Vacation Pay - 2018
Original amount - paid in error (a) $ 131,844.90 361.22 14s 5,057.08 (paid 3/29/2018)
Correct calculation amount : $ 101,510.74 278.11 145 3,893.54
Overpayment § 1,163.54 S$ 1,163.54
Sick Pay - 2018 |
Original amount - paid in error (a) S 131,844.90 361.22 12 $ 4,334.64 (paid 3/29/2018) |
Correct calculation amount $ 101,510.74 278.11 12s 3,337.32 |
Overpayment §$ 997.32 $ 997.32
End of term payout - 2018
Original amount - paid in error (a) S 118,046.02 323.41 60 $ 19,404.60 (paid 6/29/2018)
Correct calculation amount S$ 107,893.92 295.60 60 $ 17,736.00
Overpayment § 1,668.60 S$ 1,668.60
|
Vacation Pay - 2017 - (adjustment paid in 2018....all paid in error) Overpayment $ 520.94 $ 520.94 | (paid 3/29/2018)
Sick Pay - 2017 - (adjustment paid in 2018....all paid in error) Overpayment § 439.80 $ 439.80 | (paid 3/29/2018)
Overpayment subtotal $ 4,790.20 **
Add 2018 profit-sharing contribution paid (3/8/2019) on excess amount above ** s 67.06 (based on 1.4%)
Total overpayment - due to APFA | $ 4,857.26 |
(a) - included union pay (MEA/SAF)

Appendix 11

APFA 79
LA ]

Bob Ross - National President Pay

116 hours paid monthly at the highest purser pay Including international overide, per the policy manual.

* Maximum flight attendant pay
Purser Pay
International pay

60.13
7.50
3.75
71.38 116hours 8,280.08

|Bi-monthly pay 4/1/16 - 12/31/16

4,140.04 |

** Maximum flight attendant pay
Purser Pay
International pay

61.33
7.50
3.75
72.58 116hours 8,419.28

/Bl-monthly pay - 1/1/17 - 5/1/17

4,209.64 |

*** Maximum flight attendant pay
Purser Pay
International pay

101,031.36 }Annual salary
276.80 {Dally rate for sick and vacation

64.96
7.50
3.75
76.21 116hours 8,840.36

jBi-monthly pay - 5/2/17 - 12/34/17

4,420.18 |

106,084.32 |Annual salary

290.64 |Daily rate for sick and vacation

wee Maximum flight attendant pay
Purser Pay
International pay

66.26
7.50
3.75
77.51 116 hours 8,991.16

|Bi-monthly pay = 1/1/18 - 7/31/18

4,495.58 |

107,893.92 [Annual salary

295.60 [Dally rate for sick and vacation

* Pay rates effective 4/1/16
*« Pay rates effective 1/1/17 - 5/1/17

*** Pay rates effective 5/2/17 - 12/31/17 (1.6% increase)

*#e* Pay rates effective 1/1/18 - 7/31/18

Appendix 12

APFA 80
| Jct

National Officer: Bob Ross

| |
Annual Daily amount Eligible | |
Salary (divide by 365) _ Days to pay Payment |

Profit Sharing - 2016 2,652.22 (paid 3/10/17)
Vacation Pay - 2017

S$ 101,033.36 276.80 14 3,875.20 {paid 3/31/17)
Sick Pay - 2017

$ 101,031.36 276.80 12 2,321.60 (paid 3/31/17)
Retro - Wage Arbitration Award 1.6% 918.72 (paid 6/1/17)
Triple Play Grand Siam 300.00 (paid 7/6/17)
|Grand slam 150.00 (poid 2/25/18)

(Additional $50 grand slam paid on 2/15/18 salary check)

2017 Profit Sharing 2,458.19 {paid 3/9/18)
Vacation & Sick Pay - 2017 - (adj paid in 2028) 968.76 {paid 3/29/2038)
Vacation Pay - 2017 (r 1g d days per agr )

S$ 114,632.67 314.06 17 5,339.02 (paid 3/29/2018)
Vacation Pay - 2018 ( ining i days per agi )

$ 122,121.70 334.58 29 8,702.82 (paid 3/29/2018)

(Paid in two checks in the amount of $4,851.41 each)
Sick Pay - 2018

S 122,121.69 334.58 12 4,014.96 (paid 3/29/2018)

End of Term Payout - 2017 (January 1 - December 31, 2017)

S$ .118,046.02 334.58 35 11,710.30 (poie 3/29/2018)

(Paid in two checks in the amount of $3,903.43 each and one for $3,903.44)

End of Term Payout - 2018 (January 1 - July 31, 2018)

S$ 118,046.02 334.58 20.44 6,838.82 _(poid 3/29/2088)

{Paid in two checks in the amount of $3,419.41 each)

Profit sharing 2018 1,403.99 {paid 3/8/19)

Appendix 13
APFA 81
| {___¢

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National Officer: | Bob Ross

Overpayment Calculation |

Annual Daily amount Eligible
Salary {divide by 365) Days to pay Payment |
Vacation Pay - 2017
Original amount $103,037.36 276.80 14 3,875.20 OK fpsie 3/31/17}
Oy = $ 7
Sick Pay - 2017
Original amount $ 103,031.36 276.80 12 3,321.69 OK (paid 3/31/17)
Or $ a
Vacation & Sick Pay - 2017 - {adj paid in 2018....all paid in error} Or 968.76 $ 968.76
Pay - 2017 (i i unused days per agr )
Original amount - paid in error (a) $ 114,532.67 314.06 17 5,339.02 ‘poie 3/25/2018)
Correct calculation amount S 101,031.35 276.80 17 4,705.60 |
or 633.42 s 633.42 |
|
\ Pay - 2018 ( i unused days per agr |
Original amount - paid in error fa) s 122,121.70 334.58 29 9,702.82 (paiet 3/29/2012)
Correct calculation amount $ 107,893.52 295.60 29 8,572.40
Overpayment 1,130.42 $1,330.42
Sick Pay - 2018
Original amount - paid in error {3} $ 122,121.69 334.58 12 $014.56 (pare 2/73/2028)
Correct calculation amount $ 107,893.92 295.60 12 3,547.20
Ov 467.76 $ 467.76
End of term payout - 2017 (January 1 - December 31, 2017}
Original amount - paid in error (a) § 138,046.02 334.58 35 11,730.30 paid 3/29/2023)
Correct calculation amount s 107,893.92 295.60 35 10,346.00
oO 1,364.30 $4,364.30
End of Term Payout - 2018 (January 1 - July 31, 2018)
Original amount - paid in error (a) $ 118,046.02 334.58 20.44 6,838.82 {poid 3/29/2012)
Correct calculation amount $ 107,893.52 295.60 20.44 6,042.06
o 796.75 $s 796.75
Ov b $5,361.41 **
Add 2018 profit-sharing contribution paid (3/8/2019) on excess amount above ** s 75.06 (based on 1.4%)

Total overpayment - due to APFA

[$5,436.47 |

Appendix 14

APFA 82
